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The l-lonorable Marsha J. Pechrnan

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

Yolany PADILLA, et al.,

Plaintit`i`s, Noi lS-Cv-0928 MJP
v.
DECLARATION OF ANNA K.
U.S. IMMIGRATION AND CUSTOl\/IS BYERS
ENFORCEMENT, er al.,

Defendants.

 

 

 

l, Anna K. Byers, hereby declare:

l. l am an attorney licensed to practice law in New York. My business address is; 89
Marl<et Street, 6th Floor, NeWark, NJ 07102.

2. l have been practicing immigration law since 1 was admitted to the bar in June
2017. 1 began serving as an lmrnigrant Justice Corps fellow with Sauti Yetu Center
for At`n`can Women and Families in September 2016. In June 2018, lbegan
working as the Pro Bono Coordinator with American Friends Service Committee
(AFSC). l\/ly practice primarily involves working with the detained population in
New Jersey at Elizabeth Detention Center and the Essex County Correctional
Facility. 1 screen potential clients and place them with pro bono volunteers,

assisting in the mentorship of the cases throughout their duration; I also maintain a

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615 Second Ave.1 Ste. 400
Seattle, WA 98104

Telephone (206) 957» 8611

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small caseload of clients who 1 represent directly; the majority of the clients with
Whom l work go through the credible fear process.

Our office does a weekly screening of all new detainee an'ivals to the Elizabeth

LJJ

Detention Center', I also conduct regular screenings at the Essex County
Correctional Facility. PerSonS Who are detained near the southern border regularly
wait three weeks to one month before being scheduled to have a credible fear
interview. ln one recent case a detainee at Elizabeth was detained on 7/8/2018 and
given a credible fear interview on 8/6/2018; another was detained On 7/14/2018
and given a credible fear interview on 8/2/2018 and 8/8/2018. This waiting period
for credible fear interviews is extremely stressful to clients, especially if they are
separated from family members They are unsure whether they will be able to
pursue relief and suffer from enormous fear of returning which is exacerbated by
the uncertainty of the process By the time they are given an interview, many
detainees are so desperate to be released from detention that they are unable to
fully express their fear in the asylum process Some fail to complete the process or
decline lmmigration Judge review because they are so desperate to be reunited
with family members

4. The majority of the clients that l screen and work with are in, or have undergone,
the credible fear process Of those detainees approximately half are bond eligible.
I estimate that l have personally screened or reviewed the screenings of more than
50 detainees since beginning my work at American Friends Service Committec in

June 2018. In addition, l have placed and assisted in mentoring more than 40 cases

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with volunteer pro bono attorneys

Detainees regularly wait a month or more for their first master calendar hearing at
the Elizabeth lmmigration Court. Common practice at this court is to perform the
bond hearing at the first master calendar liearing.

ln the past several months lhave seen several clients come close to abandoning or
abandon their cases because of the delay in their first healings. This abandonment
is regularly caused by the effects of separation from children, declining health in
the detention center, and depression at the prospect of remaining detained

lt is extremely difficult for individuals who pass credible fear interviews to prove
that they are not a flight risk from detentionl lndividuals have limited access to
phones and other communication tools with which to gather evidence for their
bond hearings They often complain that phones do not work or that they are
unable to get evidence from relatives This is particularly challenging for persons
who recently entered the United States

In my experience, transcripts or recordings of bond hearings are not available as
judges typically perform these hearings off the record.

Written bond decisions with individualized findings are rarely issued at the
Elizabeth lirnnigratioii Court. At most judges briefly annotate the written bond
form.

This is particularly problematic for detainees who appear pro se at their bond
proceedings and later retain representation Attorneys challenging negative bond

decisions have little on Which to base their challenges on and have difficulty fully

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Seattle, WA 98104

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advocating for clients I have personally seen clients with minor or no criminal
records be denied bond in pro se proceedings Without a full understanding of why
bond was denied, it is difficult for attorneys who take on representation afterwards
to show changed circumstances that justify a new bond hearing or to challenge the
basis of the bond denial, and detainees can languish in detention for months Or
even years Without a bond determination that takes into account all the relevant

factors Written decisions would help to address this problem.

1 declare under penalty of perjury of the laws of the State of New Jersey and the
United States that the foregoing is true and correct to the best of my knowledge and belief
Executed this 18th day of September 2018 in Newark, NJ.

By: 624/w

nna Byers

 

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615 Second Ave., Ste. 400
Seattle, WA 98104

Telephone (206) 95'1- 8611

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